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 9
                               IN THE UNITED STATES DISTRICT COURT
10
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
11
                                          SACRAMENTO DIVISION
12

13

14   RALPH COLEMAN, et al.,                                2:90-cv-00520 KJM-DB (PC)

15                                           Plaintiffs,   DEFENDANTS’ MONTHLY MENTAL
                                                           HEALTH STAFFING VACANCY
16                  v.                                     REPORTS

17
     GAVIN NEWSOM, et al.,
18
                                           Defendants.
19

20               On or before the last court day of each month, Defendants are required to file a

21   monthly staffing vacancy report identifying vacancy rates at each CDCR institution and in the

22   aggregate systemwide for the preceding month for all psychiatrist, psychologist, clinical social

23   worker, recreational therapist, and medical assistant classifications. (See February 15 and

24   August 22, 2018 orders (ECF Nos. 5786 at 4, 5886 at 3); and January 18, February 10,

25   February 28, and March 17, 2023 orders (7504 at 6, 7704 at 2, 7742 at 5-7, and 7766 at 1-2).

26   Beginning with the monthly staffing vacancy report due March 31, 2023, Defendants began

27   including a separate chart of the fines accumulated for that month and, in subsequent months, a

28   total of fines accumulated to date. (ECF No. 7742 at 6.)
                                                     1
                         Defendants’ Monthly Mental Health Staffing Vacancy Reports (2:90-cv-00520 KJM-DB (PC))

                                                                                                     18950011.1
     Case 2:90-cv-00520-KJM-DB Document 7933 Filed 08/31/23 Page 2 of 23


 1         Consistent with the foregoing orders, attached is a letter from the California Correctional

 2   Health Care Services setting submitting the following reports for CDCR’s Division of Health

 3   Care Services Systemwide Mental Health Program Allocated and Filled Mental Health Staffing

 4   Positions for July 2023: the psychiatry, psychology, social worker, recreational therapist, and

 5   medical assistant vacancy reports for positions allocated under the 2009 Staffing Plan

 6   (Exhibit A); the psychiatry, psychology, social worker, recreational therapist, and medical

 7   assistant vacancy reports for positions allocated under the PIP Staffing Plan (Exhibit B); the

 8   statewide totals for all reported positions (Exhibit C); and separate chart of the fines accumulated

 9   for July 2023 calculated under the February 28, 2023 order (ECF No. 7742 at 6-7) (Exhibit D).

10    Dated: August 31, 2023                                 Respectfully submitted,
11                                                           ROB BONTA
                                                             Attorney General of California
12                                                           DAMON MCCLAIN
                                                             Supervising Deputy Attorney General
13

14                                                           /s/ Namrata Kotwani
                                                             Namrata Kotwani
15                                                           Deputy Attorney General
                                                             Attorneys for Defendants
16
     Dated: August 31, 2023                                  HANSON BRIDGETT LLP
17
                                                             /s/ Samantha D. Wolff
18                                                           PAUL MELLO
19                                                           SAMANTHA D. WOLFF
                                                             Attorneys for Defendants
20

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                                                        2
                        Defendants’ Monthly Mental Health Staffing Vacancy Reports (2:90-cv-00520 KJM-DB (PC))

                                                                                                    18950011.1
              Case 2:90-cv-00520-KJM-DB Document 7933 Filed 08/31/23 Page
STATE OF CALIFORNIA — DEPARTMENT OF CORRECTIONS AND REHABILITATION
                                                                           3 of 23
                                                                      GAVIN NEWSOM, GOVERNOR

DIVISION OF HEALTH CARE SERVICES
STATEWIDE MENTAL HEALTH PROGRAM
P.O. Box 588500
Elk Grove, CA 95758




        August 31, 2023

        Damon McClain, Esq.
        Elise O. Thorn, Esq.
        California Department of Justice
        455 Golden Gate Avenue, Suite 11000
        San Francisco, CA 94102-5500

        RE:      CDCR’S DIVISION OF HEALTH CARE SERVICES SYSTEMWIDE
                 MENTAL HEALTH PROGRAM ALLOCATED AND FILLED
                 MENTAL HEALTH STAFFING POSITIONS

        Dear Mr. McClain and Ms. Thorn:
              The California Department of Corrections and Rehabilitation (CDCR) hereby submits
        monthly reports identifying CDCR’s Division of Health Care Services Systemwide Mental Health
        Program Allocated and Filled Mental Health Staffing Positions identifying the mental health staff
        vacancy rates at each CDCR institution and systemwide for July 2023.
                In accordance with the Court’s February 14, 2018 order, the psychiatry vacancy reports
        contain the same data as the Correctional Health Care Services Mental Health Institution
        Vacancies: Summary by Institution by Classification. Those reports also include the staffing
        allocation and fill rates for Chief Psychiatrists and Senior Psychiatrist Supervisor positions as
        required under the March 18, 2022 order (ECF No. 7504 at 6), data from the monthly telepsychiatry
        report, as well as a separate column showing the number of psychiatric nurse practitioners working
        at each institution and systemwide, and the fill rate including psychiatric nurse practitioners.
                Also, in accordance with the Court’s February 15 and August 22, 2018 orders (ECF Nos.
        5786 at 4, 5886 at 3), and January 18, February 10, February 28, and March 17, 2023 orders (7504
        at 6, 7704 at 2, 7742 at 5-7, and 7766 at 1-2), the attached reports include the psychiatry,
        psychology, social worker, recreational therapist, and medical assistant vacancy reports for
        positions allocated under the 2009 Staffing Plan (Exhibit A), the psychiatry, psychology, social
        worker, recreational therapist, and medical assistant vacancy reports for positions allocated under
        the PIP Staffing Plan (Exhibit B), the statewide totals for all the positions (Exhibit C), and separate
        chart of the fines accumulated for July 2023 calculated under the February 28, 2023 order (ECF
        No. 7742 at 6-7)(Exhibit D).
        Sincerely,

        /s/ Jasinda Muhammad
        JASINDA MUHAMMAD
        Deputy Director, Human Resources
        California Correctional Health Care Services
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             EXHIBIT A
                                                                        Case 2:90-cv-00520-KJM-DB Document 7933 Filed 08/31/23 Page 5 of 23
                                                                                                                             Division of Health Care Services
                                                                                                                           Statewide Mental Health Program
                                                                                                                   Allocated and Filled Psychiatry Positions - July 2023
                                                 Allocated July 20231                                                                                                                      Filled
                                                                                              Allocated                                                                       Site Staff                                                           Line Staff       Line Staff
                                                                                                                              2                                2
  Sites          Chief PsyT        Senior PsyT          Staff PsyT         Telepsych            Total           Chief PsyT           Chief %     Senior PsyT       Senior %    PsyT2          Site Registry3   Telepsych4          PNP2,3            Total5          Total %5    Total    Total %
   ASP                1.00               0.00               5.50               0.00               6.50               0.00                 0%         0.00             -          0.00               7.14           0.00              0.00             7.14               130%     7.14     110%
   CAL                0.00               0.00               0.00               0.50               0.50               0.00                  -         0.00             -          0.00               0.00           0.75              0.00             0.75               150%     0.75     150%
   CCI                1.00               0.00               2.50               1.00               4.50               0.00                 0%         0.00             -          2.00               1.87           2.00              0.00             5.87               168%     5.87     130%
  CCWF                1.00               0.00               5.00               4.00              10.00               0.00                 0%         0.00             -          4.00               1.26           4.00              0.00             9.26               103%     9.26     93%
   CEN                0.00               0.00               0.50               0.00               0.50               0.00                  -         0.00             -          1.00               0.00           0.00              0.00             1.00               200%     1.00     200%
  CHCF                1.00               2.00              12.50              10.00              25.50               1.00                 100%       0.00            0%          4.00               10.07          5.63              1.00            20.70               92%     21.70     85%
   CIM                1.00               0.00               6.50               2.00               9.50               1.00                 100%       0.00             -          4.00               1.15           2.00              0.00             7.15               84%      8.15     86%
   CIW                1.00               0.00               6.90               0.00               7.90               0.00                 0%         0.00             -          3.00               5.26           0.00              0.00             8.26               120%     8.26     105%
  CMC                 1.00               1.00              16.00               1.50              19.50               1.00                 100%       1.00           100%         7.00               3.95           2.50              0.00            13.45               77%     15.45     79%
  CMF                 1.00               1.00               9.80               5.00              16.80               1.00                 100%       0.00            0%          2.00               6.33           5.00              1.00            14.33               97%     15.33     91%
  COR                 1.00               1.00               6.00               6.50              14.50               1.00                 100%       0.00            0%          1.50               3.50           6.49              0.00            11.49               92%     12.49     86%
  CRC                 1.00               0.00               4.50               0.00               5.50               1.00                 100%       0.00             -          5.00               0.50           0.00              0.00             5.50               122%     6.50     118%
   CTF                1.00               0.00               3.50               0.00               4.50               1.00                 100%       0.00             -          2.00               1.67           0.00              0.00             3.67               105%     4.67     104%
  CVSP                0.00               0.00               0.00               0.50               0.50               0.00                  -         0.00             -          0.00               0.00           0.38              0.00             0.38               76%      0.38     76%
   FSP                1.00               0.00               1.50               0.00               2.50               1.00                 100%       0.00             -          3.50               0.00           0.00              0.00             3.50               233%     4.50     180%
  HDSP                1.00               0.00               0.50               4.00               5.50               0.00                 0%         0.00             -          0.00               0.00           4.25              0.00             4.25               94%      4.25     77%
   ISP                0.00               0.00               0.00               0.50               0.50               0.00                  -         0.00             -          0.00               0.00           0.37              0.00             0.37               74%      0.37     74%
  KVSP                1.00               0.00               2.50               5.00               8.50               1.00                 100%       0.00             -          1.00               0.23           5.00              0.85             7.08               94%      8.08     95%
   LAC                1.00               1.00              11.00               1.00              14.00               1.00                 100%       0.00            0%          5.00               3.38           0.94              1.09            10.41               87%     11.41     82%
  MCSP                1.00               1.00               9.00               6.50              17.50               1.00                 100%       0.00            0%          4.00               2.78           6.41              0.00            13.19               85%     14.19     81%
  NKSP                1.00               0.00               6.50               4.00              11.50               0.00                 0%         0.00             -          0.00               5.43           3.02              0.00             8.45               80%      8.45     73%
  PBSP                1.00               0.00               1.00               2.00               4.00               0.00                 0%         0.00             -          1.00               0.00           2.00              0.00             3.00               100%     3.00     75%
  PVSP                1.00               0.00               2.00               0.50               3.50               1.00                 100%       0.00             -          1.00               1.01           0.50              0.00             2.51               100%     3.51     100%
   RJD                1.00               1.00              14.50               2.00              18.50               1.00                 100%       1.00           100%         7.50               6.24           2.00              0.00            15.74               95%     17.74     96%
   SAC                1.00               1.00              18.50               0.00              20.50               1.00                 100%       1.00           100%        15.25               2.40           0.00              0.00            17.65               95%     19.65     96%
  SATF                1.00               1.00               4.50              11.00              17.50               0.00                 0%         0.00            0%          1.00               0.70           10.50             1.00            13.20               85%     13.20     75%
   SCC                1.00               0.00               1.00               0.00               2.00               1.00                 100%       0.00             -          0.00               0.00           0.00              1.47             1.47               147%     2.47     124%
   SOL                1.00               0.00               3.50               0.00               4.50               0.00                 0%         0.00             -          4.00               0.00           0.00              0.00             4.00               114%     4.00     89%
   SQ                 1.00               0.00               9.30               0.00              10.30               0.00                 0%         0.00             -          5.50               1.75           0.00              0.00             7.25               78%      7.25     70%
  SVSP                1.00               1.00               2.80               5.50              10.30               1.00                 100%       0.00            0%          0.00               3.35           4.56              0.00             7.91               95%      8.91     87%
   VSP                1.00               0.00               0.50               7.00               8.50               0.00                 0%         0.00             -          0.00               0.79           5.12              0.00             5.91               79%      5.91     70%
  WSP                 1.00               0.00               6.50               5.00              12.50               0.00                 0%         0.00             -          2.00               5.86           4.00              0.00            11.86               103%    11.86     95%
Telepsych6            2.00               8.00               0.00               0.00              10.00               1.00                 50%        7.00            88%         0.00               0.00           0.00              0.00             0.00                -       8.00     80%
 NTTM7                0.00               0.00               0.00              12.00              12.00               0.00                  -         0.00             -          0.00               0.00           10.00             0.00            10.00               83%     10.00     83%

 TOTAL               30.00              19.00             174.30              97.00              320.30             17.00                 57%       10.00            53%        86.25               76.62          87.42             6.41            256.70              95%     283.70    89%


 Footnote

             1 Source: MH Staffing Memo July 2023 Statewide Mental Health Position Allocated with CCCMS not on medications ratio applied. Chief and senior positions have been allocated in the aggregate above and beyond what is required by the 2009 Staffing Plan.
             2 Source: SCO Report 2023_08_04 DCHCSEEv3_ALL
             3 Source: Management Solutions Registry Report (July 2023)
             4 Source: July 2023 Telepsychiatry Provider List
             5 Line Staff includes staff psychiatrists, registry psychiatrists, telepsychiatrists, and psychiatric nurse practitioners.
             6 Telepsych row displays the number of chiefs and seniors in telepsychiatry and are not assigned to specific institutions.
             7 NTTM- Nighttime Telepsych Shift- Took 0.5 from all institutions.
                                                             Case 2:90-cv-00520-KJM-DB Document 7933 Filed 08/31/23 Page 6 of 23
                                                                                      Division of Health Care Services
                                                                                     Statewide Mental Health Program
                                                                            Allocated and Filled Psychology Positions - July 2023
                                          Allocated July 20231                                                                                                              Filled
                                Senior Psyl   Senior Psyl                            Allocated                                         Senior Psyl      Senior (Sup)      Senior Psyl     Senior (Spec)                                        Clinical Psyl
 Sites         Chief Psyl         (Sup)          (Spec)      Clinical Psyl             Total        Chief Psyl2,3       Chief %           (Sup)2             %              (Spec)2            %        Clinical Psyl2 Site Registry4                %            Total    Total %
  ASP              2.00             1.50             2.00               11.50          17.00             2.00             100%              1.00             67%              2.00             100%              4.00             0.89             43%             9.89     58%
 CAC               0.00             0.00             0.00               0.00            0.00             0.00               -               0.00               -              0.00               -               0.00             0.00               -             0.00       -
  CAL              0.00             1.00             0.00               4.00            5.00             0.00               -               1.00            100%              0.00               -               4.00             0.00             100%            5.00     100%
  CCI              2.00             2.00             2.00               12.50          18.50             1.00             50%               2.00            100%              2.00             100%              7.50             0.00             60%             12.50    68%
 CCWF              2.00             2.50             3.50               24.50          32.50             1.00             50%               3.00            120%              3.00              86%             17.50             0.00             71%             24.50    75%
 CEN               1.00             0.00             0.00               4.00            5.00             1.00             100%              0.00               -              0.00               -               2.00             0.00             50%             3.00     60%
 CHCF              2.00             5.15             5.90               42.75          55.80             1.00             50%               5.00             97%              3.00              51%              4.00             5.46             22%             18.46    33%
  CIM              2.00             1.50             2.00               16.50          22.00             0.00              0%               0.00              0%              2.00             100%             20.00             0.00             121%            22.00    100%
  CIW              2.00             1.50             3.50               15.90          22.90             2.00             100%              2.00            133%              2.00              57%             16.00             0.88             106%            22.88    100%
 CMC               2.00             6.50             7.00               46.50          62.00             2.00             100%              5.50             85%              6.50              93%             25.50             0.72             56%             40.22    65%
 CMF               2.00             4.75             6.10               36.55          49.40             2.00             100%              4.00             84%              4.00              66%             10.50             1.72             33%             22.22    45%
 COR               2.00             4.50             4.50               39.50          50.50             2.00             100%              4.00             89%              5.00             111%             11.00             4.01             38%             26.01    52%
 CRC               2.00             1.00             2.00               9.50           14.50             1.00             50%               1.00            100%              2.00             100%              8.50             0.88             99%             13.38    92%
  CTF              2.00             1.00             2.00               8.00           13.00             1.00             50%               1.00            100%              2.00             100%              6.00             0.58             82%             10.58    81%
 CVSP              0.00             1.00             0.00               3.50            4.50             0.00               -               1.00            100%              0.00               -               1.00             1.15             61%             3.15     70%
  FSP              1.00             1.00             2.00               5.00            9.00             1.00             100%              1.00            100%              2.00             100%              5.00             0.00             100%            9.00     100%
 HDSP              2.00             1.00             2.00               11.00          16.00             1.00             50%               1.00            100%              2.00             100%              4.50             0.00             41%             8.50     53%
  ISP              1.00             0.00             0.00               4.00            5.00             1.00             100%              0.00               -              0.00               -               3.00             0.93             98%             4.93     99%
 KVSP              2.00             2.50             4.00               21.00          29.50             1.00             50%               3.00            120%              4.00             100%             15.50             0.92             78%             24.42    83%
  LAC              2.00             6.50             6.50               43.00          58.00             2.00             100%              5.50             85%              6.00              92%             27.00             0.30             63%             40.80    70%
 MCSP              2.00             7.50             7.50               47.00          64.00             2.00             100%              6.00             80%              6.00              80%             15.50             2.74             39%             32.24    50%
 NKSP              2.00             2.50             2.00               35.00          41.50             1.00             50%               0.00              0%              2.00             100%              7.50             1.77             26%             12.27    30%
 PBSP              2.00             1.00             2.00               10.50          15.50             1.00             50%               1.00            100%              2.00             100%              8.00             0.00             76%             12.00    77%
 PVSP              2.00             1.00             2.00               8.50           13.50             1.00             50%               1.00            100%              2.00             100%              6.00             0.00             71%             10.00    74%
  RJD              2.00             8.50             8.00               53.50          72.00             2.00             100%              9.00            106%              6.00              75%             33.00             3.37             68%             53.37    74%
 SAC               2.00             8.50             7.50               57.00          75.00             2.00             100%              8.00             94%              7.00              93%             29.50             6.19             63%             52.69    70%
 SATF              2.00             6.00             6.00               43.00          57.00             2.00             100%              3.00             50%              3.00              50%             16.00             0.00             37%             24.00    42%
 SCC               2.00             1.00             2.00               3.00            8.00             1.00             50%               1.00            100%              1.00              50%              1.00             0.00             33%             4.00     50%
 SOL               2.00             1.00             2.00               8.50           13.50             2.00             100%              0.00              0%              2.00             100%              6.00             0.00             71%             10.00    74%
  SQ               2.00             4.60             4.60               30.80          42.00             1.00             50%               3.00             65%              2.00              43%             24.75             1.22             84%             31.97    76%
 SVSP              2.00             3.50             4.40               28.30          38.20             2.00             100%              3.50            100%              1.00              23%              1.00             7.42             30%             14.92    39%
  VSP              2.00             3.50             5.00               21.50          32.00             1.00             50%               3.00             86%              5.00             100%             18.50             0.00             86%             27.50    86%
 WSP               2.00             3.00             2.00               40.50          47.50             1.00             50%               2.00             67%              2.00             100%             13.00             4.53             43%             22.53    47%

TOTAL             57.00            96.50            110.00           746.30           1009.80            41.00            72%              81.50             84%              88.50             80%             372.25            45.68            56%            628.93    62%


Footnote

           1 Source: MH Staffing Memo July 2023 Statewide Mental Health Position Allocated with CCCMS not on medications ratio applied. Chief and senior positions have been allocated in the aggregate above and beyond what is required by the 2009 Staffing Plan.
           2 Source: SCO Report 2023_08_04 DCHCSEEv3_ALL
           3 Some positions have been held vacant since the 2009 Staffing Model was implemented due to overall mission size and program need.
           4 Source: Management Solutions Registry Report (July 2023)
                 Case 2:90-cv-00520-KJM-DB Document 7933 Filed 08/31/23 Page 7 of 23
                                               Division of Health Care Services
                                              Statewide Mental Health Program
                                Allocated and Filled Clinical Social Worker Positions - July 2023
                          Allocated July 20231                                                        Filled
                                                 Allocated                                                             CSW
                                                                               2                              2                3
 Sites          Sup SW             CSW             Total          Sup SW           Sup SW %           CSW            Registry         CSW %            Total       Total %
  ASP              1.50            14.50            16.00               1.00          67%             10.00             0.00            69%            11.00         69%
 CAC               0.00            0.00             0.00                0.00            -              0.00             0.00              -             0.00           -
  CAL              0.00            1.00             1.00                0.00            -              1.00             0.00            100%            1.00         100%
  CCI              1.00            9.50             10.50               1.00         100%              4.00             0.76            50%             5.76         55%
 CCWF              1.50            18.00            19.50               1.00          67%             15.00             0.00            83%            16.00         82%
 CEN               0.00            1.00             1.00                0.00            -              1.00             0.00            100%            1.00         100%
 CHCF              0.60            14.30            14.90               0.00          0%               3.00             1.17            29%             4.17         28%
  CIM              1.00            12.50            13.50               1.00         100%             15.00             0.00            120%           16.00         119%
  CIW              0.80            7.90             8.70                1.00         125%              5.00             0.64            71%             6.64         76%
 CMC               1.00            17.50            18.50               1.00         100%             14.00             0.00            80%            15.00         81%
 CMF               0.50            13.10            13.60               0.00          0%               6.00             1.54            58%             7.54         55%
 COR               1.00            16.50            17.50               1.00         100%             10.00             2.84            78%            13.84         79%
 CRC               1.00            14.00            15.00               1.00         100%             11.00             1.65            90%            13.65         91%
  CTF              1.00            7.50             8.50                1.00         100%              6.00             0.00            80%             7.00         82%
 CVSP              0.00            1.00             1.00                0.00            -              0.00             0.00             0%             0.00          0%
  FSP              1.00            4.50             5.50                0.00          0%               4.00             0.00            89%             4.00         73%
 HDSP              1.00            6.00             7.00                1.00         100%              5.00             0.00            83%             6.00         86%
  ISP              0.00            1.00             1.00                0.00            -              0.00             0.00             0%             0.00          0%
 KVSP              1.00            10.50            11.50               2.00         200%              9.00             0.00            86%            11.00         96%
  LAC              1.00            16.00            17.00               1.00         100%             11.00             3.08            88%            15.08         89%
 MCSP              1.00            24.00            25.00               1.00         100%             11.00             0.00            46%            12.00         48%
 NKSP              1.00            14.50            15.50               0.00          0%              13.50             1.39            103%           14.89         96%
 PBSP              0.00            3.50             3.50                0.00            -              1.00             0.00            29%             1.00         29%
 PVSP              1.00            4.50             5.50                1.00         100%              3.00             0.00            67%             4.00         73%
  RJD              1.00            24.00            25.00               2.00         200%             10.50             3.31            58%            15.81         63%
 SAC               1.00            19.00            20.00               1.00         100%             17.00             2.49            103%           20.49         102%
 SATF              1.50            25.00            26.50               1.50         100%             11.00             1.49            50%            13.99         53%
 SCC               0.00            1.50             1.50                0.00            -              1.00             0.00            67%             1.00         67%
  SOL              1.00            6.50             7.50                0.50          50%              3.00             0.00            46%             3.50         47%
  SQ               0.80            16.80            17.60               1.00         125%             12.00             0.00            71%            13.00         74%
 SVSP              0.70            13.80            14.50               1.00         143%              3.00             2.59            41%             6.59         45%
  VSP              1.00            14.00            15.00               1.00         100%             13.00             0.00            93%            14.00         93%
 WSP               1.00            17.50            18.50               1.00         100%             15.00             0.00            86%            16.00         86%

TOTAL             25.90           370.90           396.80            24.00            93%             244.00           22.95            72%            290.95        73%

Footnote
             Source: MH Staffing Memo July 2023 Statewide Mental Health Position Allocated with CCCMS not on medications ratio applied. Chief and senior positions have been
           1 allocated in the aggregate above and beyond what is required by the 2009 Staffing Plan.
           2 Source: SCO Report 2023_08_04 DCHCSEEv3_ALL
           3 Source: Management Solutions Registry Report (July 2023)
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                           Division of Health Care Services
                         Statewide Mental Health Program
            Allocated and Filled Recreation Therapist Positions - July 2023
  Sites               Allocated RecT1                 Filled RecT2,4                RecT Registry3                    RecT %
   ASP                       0.00                           1.00                          0.00                            -
  CAC                        0.00                           0.00                          0.00                            -
   CAL                       0.00                           0.00                          0.00                            -
   CCI                       3.50                           1.00                          1.81                          80%
  CCWF                       6.00                           7.00                          0.00                          117%
  CEN                        0.00                           0.00                          0.72                            -
  CHCF                       24.65                         20.00                          0.92                          85%
   CIM                       6.00                           4.00                          0.00                          67%
   CIW                       6.40                           5.00                          0.91                          92%
  CMC                        25.50                         17.50                          0.00                          69%
  CMF                        20.95                         14.50                          0.00                          69%
  COR                        12.50                          9.00                          2.64                          93%
  CRC                        0.00                           1.00                          0.00                            -
   CTF                       0.00                           0.00                          0.00                            -
  CVSP                       0.00                           0.00                          0.00                            -
   FSP                       0.50                           0.00                          0.00                           0%
  HDSP                       1.50                           2.00                          0.00                          133%
   ISP                       0.00                           0.00                          0.00                            -
  KVSP                       7.00                           5.00                          0.52                          79%
   LAC                       19.50                         14.00                          0.00                          72%
  MCSP                       25.50                         22.00                          3.39                          100%
  NKSP                       4.50                           2.00                          0.00                          44%
  PBSP                       2.00                           2.00                          0.00                          100%
  PVSP                       1.00                           1.00                          0.00                          100%
   RJD                       28.00                         29.00                          0.90                          107%
  SAC                        29.00                         29.50                          0.00                          102%
  SATF                       19.50                         15.00                          1.64                          85%
  SCC                        0.00                           1.00                          0.00                            -
   SOL                       1.00                           1.00                          0.00                          100%
   SQ                        10.30                          7.00                          1.41                          82%
  SVSP                       10.80                          8.00                          0.00                          74%
   VSP                       10.00                         10.00                          0.00                          100%
  WSP                        5.50                           4.00                          0.00                          73%

  TOTAL                     281.10                         232.50                         14.86                         88%

 Footnote
                 Source: MH Staffing Memo July 2023 Statewide Mental Health Position Allocated with CCCMS not on medications ratio
                 applied. Chief and senior positions have been allocated in the aggregate above and beyond what is required by the 2009
               1 Staffing Plan.
               2 Source: SCO Report 2023_08_04 DCHCSEEv3_ALL
               3 Source: Management Solutions Registry Report (July 2023)
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                       Division of Health Care Services
                      Statewide Mental Health Program
          Allocated and Filled Medical Assistant Positions - July 2023
   Sites              Allocated MA                    Filled MA1          MA Registry2   MA %
    ASP                    0.00                          0.00                 0.00        -
   CAC                     0.00                          0.00                 0.00        -
    CAL                    1.00                          1.00                 0.00       100%
    CCI                    1.00                          2.00                 0.00       200%
   CCWF                    4.00                          2.00                 0.88       72%
   CEN                     0.00                          0.00                 0.00        -
   CHCF                    10.00                         6.00                 0.00       60%
    CIM                    2.00                          0.00                 0.00        0%
    CIW                    0.00                          0.00                 0.00        -
   CMC                     2.00                          1.00                 0.00       50%
   CMF                     5.00                          2.00                 3.67       113%
   COR                     6.00                          6.00                 0.00       100%
   CRC                     0.00                          0.00                 0.00        -
    CTF                    0.00                          0.00                 0.00        -
   CVSP                    0.00                          0.00                 0.00        -
    FSP                    0.00                          0.00                 0.00        -
   HDSP                    4.00                          0.00                 0.00        0%
    ISP                    0.00                          0.00                 0.00        -
   KVSP                    5.00                          4.00                 0.00       80%
    LAC                    1.00                          1.00                 0.00       100%
   MCSP                    7.00                          4.00                 0.00       57%
   NKSP                    4.00                          2.00                 0.88       72%
   PBSP                    2.00                          1.00                 0.00       50%
   PVSP                    1.00                          1.00                 0.00       100%
    RJD                    2.00                          0.00                 0.00        0%
   SAC                     0.00                          0.00                 0.93        -
   SATF                    11.00                         9.00                 0.00       82%
   SCC                     0.00                          0.00                 0.00        -
   SOL                     0.00                          0.00                 0.00        -
    SQ                     0.00                          0.00                 0.00        -
   SVSP                    6.00                          0.00                 0.92       15%
    VSP                    7.00                          5.00                 0.00       71%
   WSP                     5.00                          4.00                 0.00       80%

  TOTAL                    86.00                         51.00                7.28       68%
  Footnote
             1 Source: SCO Report 2023_08_04 DCHCSEEv3_ALL
             2 Source: Management Solutions Registry Report (July 2023)
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             EXHIBIT B
                                                                     Case 2:90-cv-00520-KJM-DB Document 7933 Filed 08/31/23 Page 11 of 23
                                                                                                                         Division of Health Care Services
                                                                                                                        Statewide Mental Health Program
                                                                                                             PIP Allocated and Filled Psychiatry Positions - July 2023
                                               Allocated July 20231                                                                                                                      Filled
                                                                                            Allocated                                                                       Site Staff                                                           Line Staff       Line Staff
                                                                                                                            2                                2
 Sites         Chief PsyT        Senior PsyT          Staff PsyT         Telepsych            Total           Chief PsyT           Chief %     Senior PsyT       Senior %    PsyT2          Site Registry3   Telepsych4          PNP2,3            Total5          Total %5         Total        Total %
CHCF PIP            1.00               2.00              33.00               0.00              36.00               2.00                 200%       0.00            0%         13.00               12.28          0.00              0.00            25.28             77%            27.28          76%
CIW PIP             1.00               0.00               3.60               0.00               4.60               1.00                 100%       0.00             -          2.00               0.00           0.00              0.00             2.00             56%             3.00          65%
CMF PIP             1.00               2.00              28.70               0.00              31.70               1.00                 100%       0.00            0%          7.00               12.30          0.00              0.00            19.30             67%            20.30          64%
 SQ PIP             1.00               0.00               3.20               0.00               4.20               1.00                 100%       0.00             -          3.00               0.00           0.00              0.00             3.00             94%             4.00          95%
SVSP PIP            1.00               1.00              11.20               0.00              13.20               0.00                 0%         0.00            0%          1.00               9.31           0.00              0.00            10.31             92%            10.31          78%

 TOTAL              5.00               5.00              79.70               0.00              89.70               5.00                 100%       0.00            0%         26.00               33.89          0.00              0.00            59.89             75%            64.89          72%
Footnote
             Source: MH Staffing Memo July 2023 Statewide Mental Health Position Allocated with CCCMS not on medications ratio applied. PIP allocated positions are based on the number of positions in the Governor's 2023/24 budget and include the Flex Bed positions for CHCF PIP and CMF PIP. Chief and
           1 senior positions have been allocated in the aggregate above and beyond what is required by the 2009 Staffing Plan.
           2 Source: SCO Report 2023_08_04 DCHCSEEv3_ALL
           3 Source: Management Solutions Registry Report (July 2023)
           4 Source: July 2023 Telepsychiatry Provider List
           5 Line Staff includes staff psychiatrists, registry psychiatrists, telepsychiatrists, and psychiatric nurse practitioners.
                                                             Case 2:90-cv-00520-KJM-DB Document 7933 Filed 08/31/23 Page 12 of 23
                                                                                       Division of Health Care Services
                                                                                      Statewide Mental Health Program
                                                                           PIP Allocated and Filled Psychology Positions - July 2023
                                          Allocated July 20231                                                                                                              Filled
                                Senior Psyl   Senior Psyl                            Allocated                                         Senior Psyl      Senior (Sup)      Senior Psyl     Senior (Spec)                                        Clinical Psyl
 Sites         Chief Psyl         (Sup)          (Spec)      Clinical Psyl             Total        Chief Psyl2,3       Chief %           (Sup)2             %              (Spec)2            %        Clinical Psyl2 Site Registry4                %            Total        Total %
CHCF PIP           1.00             4.35             8.10               34.25          47.70             1.00             100%              3.00             69%              6.00              74%             15.00             8.18             68%            33.18          70%
CIW PIP            1.00             0.50             2.50               3.60            7.60             1.00             100%              1.00            200%              2.00              80%              2.00             0.00             56%             6.00          79%
CMF PIP            1.00             3.75             7.40               29.95          42.10             1.00             100%              1.00             27%              2.00              27%              6.00             4.79             36%            14.79          35%
 SQ PIP            1.00             0.40             2.40               3.20            7.00             1.00             100%              1.00            250%              1.00              42%              3.00             0.00             94%             6.00          86%
SVSP PIP           1.00             1.50             5.60               11.20          19.30             1.00             100%              2.00            133%              3.00              54%              5.00             4.62             86%            15.62          81%

 TOTAL             5.00            10.50             26.00              82.20          123.70            5.00             100%              8.00             76%              14.00             54%             31.00             17.59            59%            75.59          61%
Footnote
             Source: MH Staffing Memo July 2023 Statewide Mental Health Position Allocated with CCCMS not on medications ratio applied. PIP allocated positions are based on the number of positions in the Governor's 2023/24 budget and include the Flex Bed positions for CHCF PIP and
           1 CMF PIP. Chief and senior positions have been allocated in the aggregate above and beyond what is required by the 2009 Staffing Plan.
           2 Source: SCO Report 2023_08_04 DCHCSEEv3_ALL
           3 Some positions have been held vacant since the 2009 Staffing Model was implemented due to overall mission size and program need.
           4 Source: Management Solutions Registry Report (July 2023)
                               Case 2:90-cv-00520-KJM-DB Document 7933 Filed 08/31/23 Page 13 of 23
                                               Division of Health Care Services
                                              Statewide Mental Health Program
                              PIP Allocated and Filled Clinical Social Worker Positions - July 2023
                           Allocated July 20231                                                          Filled
                                                  Allocated                                                               CSW
 Sites          Sup SW              CSW             Total           Sup SW2          Sup SW %            CSW2           Registry3          CSW %            Total        Total %
CHCF PIP           1.90             29.20            31.10              2.00            105%             11.00              4.61             53%            17.61          57%
CIW PIP            0.20             3.60              3.80              1.00            500%              2.00              0.00             56%             3.00          79%
CMF PIP            1.50             24.90            26.40              0.00             0%               3.00              1.73             19%             4.73          18%
 SQ PIP            0.20             3.20              3.40              0.00             0%               2.00              0.00             63%             2.00          59%
SVSP PIP           0.80             11.20            12.00              1.00            125%              7.00              0.89             70%             8.89          74%

 TOTAL             4.60             72.10            76.70              4.00             87%             25.00              7.23             45%            36.23          47%
Footnote
             Source: MH Staffing Memo July 2023 Statewide Mental Health Position Allocated with CCCMS not on medications ratio applied. PIP allocated positions are based on the
             number of positions in the Governor's 2023/24 budget and include the Flex Bed positions for CHCF PIP and CMF PIP. Chief and senior positions have been allocated in the
           1 aggregate above and beyond what is required by the 2009 Staffing Plan.
           2 Source: SCO Report 2023_08_04 DCHCSEEv3_ALL
           3 Source: Management Solutions Registry Report (July 2023)
           Case 2:90-cv-00520-KJM-DB Document 7933 Filed 08/31/23 Page 14 of 23
                           Division of Health Care Services
                          Statewide Mental Health Program
          PIP Allocated and Filled Recreation Therapist Positions - July 2023
 Sites                  Allocated RecT1                   Filled RecT2,4                  RecT Registry3                      RecT %
CHCF PIP                       31.85                           18.00                            4.72                             71%
CIW PIP                        3.60                             4.00                            0.00                            111%
CMF PIP                        27.55                           11.00                            5.94                             61%
 SQ PIP                        3.20                             3.00                            0.00                             94%
SVSP PIP                       11.20                           10.00                            0.00                             89%

 TOTAL                         77.40                           46.00                            10.66                            73%
Footnote

                  Source: MH Staffing Memo July 2023 Statewide Mental Health Position Allocated with CCCMS not on medications ratio
                  applied. PIP allocated positions are based on the number of positions in the Governor's 2023/24 budget and include the Flex
                  Bed positions for CHCF PIP and CMF PIP. Chief and senior positions have been allocated in the aggregate above and beyond
                1 what is required by the 2009 Staffing Plan.
                2 Source: SCO Report 2023_08_04 DCHCSEEv3_ALL
                3 Source: Management Solutions Registry Report (July 2023)
                4 Rehabilitation therapists are included in the fill rate for recreation therapists at CHCF PIP, CMF PIP, and SVSP PIP.
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                           Division of Health Care Services
                          Statewide Mental Health Program
            PIP Allocated and Filled Medical Assistant Positions - July 2023
 Sites                   Allocated MA                   Filled MA1           MA Registry2   MA %
CHCF PIP                      0.00                          0.00                 0.89        -
CIW PIP                       0.00                          0.00                 0.00        -
CMF PIP                       0.00                          0.00                 0.00        -
 SQ PIP                       0.00                          0.00                 0.00        -
SVSP PIP                      0.00                          0.00                 0.00        -

 TOTAL                        0.00                          0.00                 0.89        -
Footnote
                1 Source: SCO Report 2023_08_04 DCHCSEEv3_ALL
                2 Source: Management Solutions Registry Report (July 2023)
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             EXHIBIT C
                                                                      Case 2:90-cv-00520-KJM-DB Document 7933 Filed 08/31/23 Page 17 of 23
                                                                                                                          Division of Health Care Services
                                                                                                                         Statewide Mental Health Program
                                                                                                             Total Allocated and Filled Psychiatry Positions - July 2023
                                                    Allocated July 20231                                                                                                                   Filled
                                                                                                Allocated                                                                     Site Staff                                                          Line Staff        Line Staff
Staffing Plan       Chief PsyT        Senior PsyT         Staff PsyT         Telepsych            Total          Chief PsyT2           Chief %   Senior PsyT2   Senior %        PsyT2         Site Registry3   Telepsych4          PNP2,3           Total5           Total %5         Total       Total %
 2009 Total             30.00              19.00             174.30             97.00             320.30              17.00              57%        10.00         53%            86.25              76.62          87.42             6.41            256.70            95%           283.70         89%
  PIP Total              5.00              5.00               79.70              0.00              89.70               5.00              100%        0.00         0%             26.00              33.89           0.00             0.00            59.89             75%            64.89         72%

GRAND TOTAL             35.00              24.00             254.00             97.00             410.00              22.00              63%        10.00         42%           112.25              110.51         87.42             6.41            316.59            90%           348.59         85%


  Footnote
                  Source: MH Staffing Memo July 2023 Statewide Mental Health Position Allocated with CCCMS not on medications ratio applied. PIP allocated positions are based on the number of positions in the Governor's 2023/24 budget and include the Flex Bed positions for CHCF PIP and CMF PIP. Chief
                1 and senior positions have been allocated in the aggregate above and beyond what is required by the 2009 Staffing Plan.
                2 Source: SCO Report 2023_08_04 DCHCSEEv3_ALL
                3 Source: Management Solutions Registry Report (July 2023)
                4 Source: July 2023 Telepsychiatry Provider List
                5 Line Staff includes staff psychiatrists, registry psychiatrists, telepsychiatrists, and psychiatric nurse practitioners.
                                                              Case 2:90-cv-00520-KJM-DB Document 7933 Filed 08/31/23 Page 18 of 23
                                                                                                         Division of Health Care Services
                                                                                                        Statewide Mental Health Program
                                                                                            Total Allocated and Filled Psychology Positions - July 2023
                                              Allocated July 20231                                                                                                              Filled
                                    Senior Psyl   Senior Psyl                            Allocated                                         Senior Psyl     Senior (Sup)      Senior Psyl     Senior (Spec)                               Clinical Psyl
Staffing Plan       Chief Psyl        (Sup)          (Spec)      Clinical Psyl             Total        Chief Psyl2,3       Chief %          (Sup)2             %              (Spec)2            %        Clinical Psyl2 Site Registry4       %                    Total        Total %
 2009 Total            57.00            96.50            110.00           746.30          1009.80            41.00            72%              81.50            84%              88.50            80%             372.25            45.68             56%           628.93         62%
  PIP Total             5.00            10.50            26.00            82.20            123.70            5.00            100%              8.00             76%              14.00            54%              31.00            17.59             59%           75.59          61%

GRAND TOTAL            62.00            107.00           136.00           828.50          1133.50            46.00            74%              89.50            84%             102.50            75%             403.25            63.27             56%           704.52         62%


  Footnote
                  Source: MH Staffing Memo July 2023 Statewide Mental Health Position Allocated with CCCMS not on medications ratio applied. PIP allocated positions are based on the number of positions in the Governor's 2023/24 budget and include the Flex Bed positions for CHCF PIP
                1 and CMF PIP. Chief and senior positions have been allocated in the aggregate above and beyond what is required by the 2009 Staffing Plan.
                2 Source: SCO Report 2023_08_04 DCHCSEEv3_ALL
                3 Some positions have been held vacant since the 2009 Staffing Model was implemented due to overall mission size and program need.
                4 Source: Management Solutions Registry Report (July 2023)
                                  Case 2:90-cv-00520-KJM-DB Document 7933 Filed 08/31/23 Page 19 of 23
                                                  Division of Health Care Services
                                                 Statewide Mental Health Program
                                Total Allocated and Filled Clinical Social Worker Positions - July 2023
                                Allocated July 20231                                                          Filled
                                                       Allocated                                                               CSW
Staffing Plan        Sup SW              CSW             Total           Sup SW2          Sup SW %            CSW2           Registry3          CSW %            Total        Total %
 2009 Total            25.90            370.90            396.80             24.00            93%             244.00            22.95             72%            290.95         73%
  PIP Total             4.60             72.10            76.70              4.00             87%             25.00              7.23             45%            36.23          47%

GRAND TOTAL            30.50            443.00            473.50             28.00            92%             269.00            30.18             68%            327.18         69%
  Footnote
                  Source: MH Staffing Memo July 2023 Statewide Mental Health Position Allocated with CCCMS not on medications ratio applied. PIP allocated positions are based on the
                  number of positions in the Governor's 2023/24 budget and include the Flex Bed positions for CHCF PIP and CMF PIP. Chief and senior positions have been allocated in the
                1 aggregate above and beyond what is required by the 2009 Staffing Plan.
                2 Source: SCO Report 2023_08_04 DCHCSEEv3_ALL
                3 Source: Management Solutions Registry Report (July 2023)
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                           Division of Health Care Services
                          Statewide Mental Health Program
         Total Allocated and Filled Recreation Therapist Positions - July 2023
Staffing Plan             Allocated RecT1                  Filled RecT2,4                RecT Registry3                     RecT %
 2009 Total                     281.10                         232.50                          14.86                           88%
  PIP Total                      77.40                          46.00                          10.66                           73%

GRAND TOTAL                     358.50                         278.50                          25.52                           85%
  Footnote
                     Source: MH Staffing Memo July 2023 Statewide Mental Health Position Allocated with CCCMS not on medications ratio
                     applied. PIP allocated positions are based on the number of positions in the Governor's 2023/24 budget and include the Flex
                     Bed positions for CHCF PIP and CMF PIP. Chief and senior positions have been allocated in the aggregate above and beyond
                   1 what is required by the 2009 Staffing Plan.
                   2 Source: SCO Report 2023_08_04 DCHCSEEv3_ALL
                   3 Source: Management Solutions Registry Report (July 2023)
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                               Division of Health Care Services
                             Statewide Mental Health Program
              Total Allocated and Filled Medical Assistant Positions - July 2023
Staffing Plan               Allocated MA                   Filled MA1           MA Registry2   MA %
 2009 Total                      86.00                        51.00                 7.28       68%
  PIP Total                      0.00                          0.00                 0.89        -

GRAND TOTAL                      86.00                        51.00                 8.17       69%
  Footnote
                   1 Source: SCO Report 2023_08_04 DCHCSEEv3_ALL
                   2 Source: Management Solutions Registry Report (July 2023)
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             EXHIBIT D
                                                       Case 2:90-cv-00520-KJM-DB Document 7933 Filed 08/31/23 Page 23 of 23

                                                                                                                 Division of Health Care Services
                                                                                                                Statewide Mental Health Program
                                                                                                                          July 2023 Fines
                                                             Average
                                                            Maximum                                                              90% Minimum            Filled with Civil         Filled with   Total Filled with                   Fine for July     Accumulated
                      Class Title                          Monthly Salary             Minimum                Allocated            Compliance              Service (CS)             Registry     CS and Registry Below Minimum          2023           Fines To Date
Staff Psychiatrist1                                        $          23,041              90%                  271.30                 244.17                  180.08                  76.62         256.70         -12.53       $                   - $     161,285
Senior Psychiatrist (Supervisor)                           $          24,042              90%                   19.00                  17.10                  10.00                   0.00          10.00           7.10        $        341,396 $         1,663,706
Chief Psychiatrist2                                        $          27,906              90%                   30.00                  27.00                  17.00                   0.00          17.00          10.00        $        558,110 $         2,344,062
                              Total Psychiatry Fine                                                                                                                                                                             $        899,506 $         4,169,053
Clinical Psychologist                                      $            9,973             90%                  746.30                 671.67                  372.25                  45.68         417.93         253.74       $      5,061,098 $        26,980,156
Senior Psychologist (Specialist)                           $          10,869              90%                  110.00                  99.00                  88.50                   0.00          88.50          10.50        $        228,249 $         1,255,370
Senior Psychologist (Supervisor)                           $          11,210              90%                   96.50                  86.85                  81.50                   0.00          81.50           5.35        $        119,947 $          508,934
Chief Psychologist                                         $          13,866              90%                   57.00                  51.30                  41.00                   0.00          41.00          10.30        $        285,645 $         1,907,996
                             Total Psychology Fine                                                                                                                                                                              $      5,694,939 $        30,652,456
Clinical Social Worker                                     $            8,461             90%                  370.90                 333.81                  244.00                  22.95         266.95         66.86        $      1,131,366 $         6,261,095
Supervising Psychiatric Social Worker I                    $            8,192             90%                   25.90                  23.31                  24.00                   0.00          24.00          -0.69        $                   - $     226,755
                Total Clinical Social Worker Fine                                                                                                                                                                               $      1,131,366 $         6,487,849
Medical Assistant                                          $            4,553             90%                   86.00                  77.40                  51.00                   7.28          58.28          19.12        $        174,107 $          727,478
                     Total Medical Assistant Fine                                                                                                                                                                               $        174,107 $          727,478
Recreation Therapist                                       $            5,841             90%                  281.10                 252.99                 232.50                   14.86         247.36          5.63        $          65,770 $          87,615
                 Total Recreation Therapist Fine                                                                                                                                                                                $          65,770 $          87,615
                                      GRAND TOTAL                                                                                                                                                                               $      7,965,688      $   42,124,452

Footnote
1 Staff psychiatrist allocated includes civil service and telepsych. Staff psychiatrist filled includes civil service, telepsych, and psychiatric nurse practitioner civil service.
2 Chief psychiatrist allocated and filled with civil service include telepsych.




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